11/10/23, 11:43 AM   Case 1:21-cr-00489-RDM Document 74-1
                                                      Gmail - Filed   11/10/23 Page 1 of 2
                                                              Re: Hello



                                                                                           Joseph Conte <dcgunlaw@gmail.com>



  Re: Hello
  1 message

  Jennifer Buteau <jbuteau69@icloud.com>                                                                  Thu, Nov 9, 2023 at 4:26 PM
  To: Joseph Conte <dcgunlaw@gmail.com>

    Dear Judge,
    My name is Rebeka Tinkham, I am the mother to Cadyn Buteau the grandson of Jamie and Jennifer Buteau.
    I have known Jamie and Jennifer for almost 11 years now.
    Jamie has always put his kids and grandson before himself, he has a huge heart and would drop a dime for anyone. If
    Jamie ends up doing time, he is letting his family down, including his favorite person who is his grandson. Jamie is the
    most funniest person when someone is down, he always finds a way to make anyone laugh in a horrible situation.
    When I first met Jamie, I got into a car accident with his son Jamie, the very first day I dated with his son. I went back to
    their house, crying he found a way to put a smile on my face because I thought my parents were gonna be super mad at
    me, but he put that smile on my face and help me out .
    Jamie is the type of guy that would stop and help anyone who he doesn’t know, just to put a smile on their face.
    Jennifer and Jamie Buteau are wonderful people and are big hearted. They are the type of people who take in a
    grandchild who is not their own grandchild. My daughter Maddison , who is six years old loves Jennifer and Jamie, they
    have help me with Maddison and Cadyn by watching them while I work, and has always let them stay the night with them.
    They have taken them to do fun things to the bounce house to watching them when I went on vacation. They love kids
    and their grandchildren.
    When I found out that I was pregnant with Cadyn they had done a lot to help me during the time of my pregnancy, even
    though we had a month to prepare for him, they helped raise Cadyn for the first few years of his life. Even when I went
    through a depressed state Jamie and Jenn kept Cadyn during the week to drive and pick him up from school over 18
    miles away, that helped take a burden off me, their father Jamie was away at the Marines at the time. Cadyn is in aww
    over his grandparents. They are his best friends. Anytime I have Cadyn he is always asking me, when can he go over to
    Mammy and Pappys house so he can play with video games or Legos or go swimming, or see their dog, Luna. Jenn and
    Jamie have always been there for anyone in need, babysitting, a ride to anywhere, they always help anyone out as much
    as they can. They’re wonderful people and if they both are going away in to due time, they are missing out on their
    families lives watching their grandkids grow up into wonderful kids that they love so much and don’t want to leave them
    behind. I look up to Jenn and Jamie, I hope one day to have the type of marriage they have, they are so perfect and full of
    love for one another.

    Please I ask the court to take in their lives of compassion, and not one moment in time, of making a mistake I know they
    regret, and wish they could take back. They have lost the spark they had for life before all this, and any prison term, I
    don’t see how this benefits society or them , but ruining more of their mental health, and hurting all that love and need
    them dearly.

    Thank you
    Sincerely Rebeka Tinkham

    Sent from my iPad


            On Nov 9, 2023, at 1:03 PM, Jennifer Buteau <jbuteau69@icloud.com> wrote:



            To: Honorable Judge Moss,

               I am writing this letter to you on behalf of Jennifer Buteau's character. I've known Jen for 13 years. She is
            one of my best friends, and it deeply saddens me to see what she has gone through in the last few years. Jen
            is a amazing person. She's loving, fun, adventuress and kind. She will go out of her way to make sure other
            people are happy. We have had so many great times together and her company is the best. People turn to
            her for advice, including myself as she is a very smart. She has become like family to me and even though
            we live in different states we still try to see each other at least once a year. I always look forward to our time
            together and my daughter Jenna gets so excited when she finds out she is going to be seeing Jen, she
            actually calls her Auntie Jen. Jen absolutely adores her family and I can't imagine her being without them for
            any period of time. I know everything that has happened these past few years has taken a toll on her. She

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11/10/23, 11:43 AM     Case 1:21-cr-00489-RDM Document 74-1
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            deserves to be happy and stress free. I hope you can see that Jennifer is a amazing person, Mother and
            Grandmother. There is so much more I could write about my best friend but I do not want to take up too much
            of your time. Every person's time is precious.

             Thank you for taking your time to read this !



              Amanda Townsend



            Sent from my iPad


                     On Nov 9, 2023, at 6:22 AM, Joseph Conte <dcgunlaw@gmail.com> wrote:



                     Ms. Buteau:

                     Send your letters to me and I will file them. Whether you speak or write a letter
                     is up to you. I would suggest you speak.

                     On Wed, Nov 8, 2023 at 1:48 PM Jennifer Buteau <jbuteau69@icloud.com> wrote:
                      Hello Mr. Conte,
                        My best friend Dorie Leigh would like to speak, I only have a few letters, I really don’t care
                      about me was more worried about my hubby, so I have a lot of letters for him, and my boss
                      is going to speak on his behalf, I could ask him to do for me to, but it’s whatever you
                      lawyers think best.
                      Been trying to work a lot to cover the cost of renting a van to go up there with everybody,
                      still haven’t heard from the payment back in July for going to DC. Should I write what I want
                      to say? I’m afraid that it be too political and piss them off, I feel no matter what they have
                      their minds made up, and out to get us all! Do you want me to send the letters to you in
                      email?

                        Thanks for all you do, I appreciate it.
                       Jennifer Buteau

                       Sent from my iPhone


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                     Joseph R. Conte
                     8251 NW 15th Ct.
                     Coral Springs, FL 33071
                     Phone: 202.236.1147
                     Email: dcgunlaw@gmail.com
                     ____________________________

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                     authorized representative(s), please notify us of the error immediately and ask for instructions
                     concerning its proper disposition.




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